                                       Case 4:23-cv-00909-YGR                Document 154        Filed 06/02/25       Page 1 of 1




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                                   3                                    UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     GENENTECH, INC.,                                        CASE NO. 23-cv-00909-YGR
                                   7                     Plaintiff,
                                                                                                 PRETRIAL ORDER NO. 2
                                   8               vs.

                                   9     BIOGEN MA, INC.,
                                  10                     Defendant.

                                  11          TO THE PARTIES AND COUNSEL OF RECORD:

                                  12          1.          The Court is in receipt of the parties’ pretrial filings. As the parties are aware, the
Northern District of California
 United States District Court




                                  13   Court limits the number of motions in limine. Here, Biogen’s Motion in Limine No. 1 contains

                                  14   three subparts, effectively three motions. Accordingly, Biogen has exceeded the Court’s motion

                                  15   in limine limit by two. By June 3, 2025, Biogen shall file a notice as to which two motions are

                                  16   withdrawn. If no notice is filed, the Court will strike Biogen’s Motion in Limine Nos. 4 and 5.

                                  17          2.          Since the parties could not agree on ten proposed additional questions for jury voir

                                  18   dire, each party should identify their top five proposed questions by June 3, 2025. Again, the

                                  19   Court observes that Biogen’s proposed question number two constitutes nine separate questions

                                  20   collapsed in one.

                                  21          3.          In order for the Court to identify juror conflicts, it needs one alphabetical list. By

                                  22   June 3, 2025, the parties shall send to the Court by email one consolidated list of all companies,

                                  23   law firms, attorneys, and trial witnesses in alphabetical order, without regard to the identifying

                                  24   party. Currently the filing contains multiple lists.

                                  25          IT IS SO ORDERED.

                                  26   Dated: June 2, 2025
                                                                                                     YVONNE GONZALEZ ROGERS
                                  27                                                            UNITED STATES DISTRICT COURT JUDGE
                                  28
